                   IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In the Matter of:                                       )
                                                         )
 Michael W. Davidson                                     )
 SSN: XXX-XX-3867                                        )       CASE NO. 18-82270-CRJ11
                                                         )
                 Debtor.                                 )       CHAPTER 11
                                                         )

                      CHAPTER 11 PLAN DATED NOVEMBER 21, 2018

         In accordance with 11 U.S.C. § 1127, Michael W. Davidson, Debtor and Debtor-in-

 Possession (“Debtor”) in the above captioned Chapter 11 case files this Plan of Liquidation Dated

 November 21, 2018 (“Plan”), in the United States Bankruptcy Court for the Northern District of

 Alabama, Northern Division (“Bankruptcy Court” or “Court”).

                                                 I.
                                            DEFINITIONS

         The following terms shall have the following meanings unless the context otherwise

 requires and, unless otherwise indicated, the singular shall include the plural. The definitions

 contained in Sections 101 and 1101 of the Bankruptcy Code shall control unless different

 definitions are stated herein, in which case the definitions as stated herein shall control for purposes

 of this Plan.

 1.01    “Accounting Fees” means accounting and/or administrative management fees for

         preparing tax returns and other financial reports.

 1.02    “Administrative Expense Claim” means a Claim for any cost or expense of

         administration of the Reorganization Case allowed under § 503(b) of the Bankruptcy Code,

         including without limitation any Claim for the actual and necessary costs and expenses of

         preserving the Debtor’s estate and all allowances of compensation or reimbursement of




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        expenses to the extent allowed by the Bankruptcy Court.

 1.03   “Allowed Amount” means the amount of any Allowed Claim.

 1.04   “Allowed Claim” means:

        (A) Any Claim in any Class:

                 (i)    proof of which has been filed with the Bankruptcy Court prior to the Bar

                        Date, or which has been scheduled by the Debtor and not shown as disputed,

                        contingent, or unliquidated; and

                 (ii)   to which no objection has been made within the Disclosure Statement or to

                        which no objection is filed no later than thirty (30) days after the Effective

                        Date or which has been allowed by Final Order; or

        (B)      Any Administrative Claim for which a motion or fee application has been filed and

                 approved by the Court.

 1.05   “Allowed Secured Claim” means a Claim that is both an Allowed Claim and a Secured

        Claim.

 1.06   “Allowed Unsecured Claim” means a Claim that is both an Allowed Claim and an

        Unsecured Claim.

 1.07   “Bankruptcy Code or Code” means Title 11 of the United States Code.

 1.08   “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the

        Northern District of Alabama, Northern Division.

 1.09   “Bankruptcy Rule” or “Bankruptcy Rules” means one or more of the Federal Rules of

        Bankruptcy Procedure.

 1.10   “Bar Date” means the date established by the Court as the deadline for filing all Claims.

        The Court scheduled October 26, 2018, as the Bar Date for all claimants to file proofs of




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        claim, including governmental units and/or agencies. Claims filed after the Bar Date,

        which are not otherwise Allowed Claims, will be disallowed and of no effect.

 1.11   “Claim” means a claim or interest as defined by the Code.

 1.12   “Class” means one of the classes of Allowed Claims or equity interests established by the

        Plan.

 1.13   “Confirmation Date” means the date on which the Court pursuant to § 1129 of the

        Bankruptcy Code enters the Confirmation Order.

 1.14   “Confirmation Order” means the Final Non-Appealable Order of the Court determining

        that the Plan meets the requirements of the Bankruptcy Code and is entitled to

        confirmation.

 1.15   “Debtor” means Michael W. Davidson.

 1.16   “Effective Date” means the date on which the Confirmation Order becomes a Final Order.

 1.17   “Filing Date” with respect to the Debtor means July 31, 2018, the date on which the

        Chapter 11 Case was commenced.

 1.18   “Final Decree” means the Order entered by the Bankruptcy Court which closes the case.

 1.19   “Final Order” means:

        A.      An order of the Court that has become conclusive of all matters adjudicated by such

                order and:

                (i)     that is not the subject of a pending appeal and for which the time to appeal

                        or seek review or rehearing of such order has expired, or

                (ii)    that is the subject of a pending appeal but has not been stayed or as to which

                        no supersedeas bond has been posted.

 1.20   “IRS” means the Internal Revenue Service.




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 1.21   “Plan” means this Plan of Reorganization and any subsequent amendments.

 1.22   “Post-Petition” means the Filing Date and the period after the Filing Date.

 1.23   “Pre-Petition” means the period preceding the Filing Date.

 1.24   “Priority Claim” means those expenses and claims which may be provided for under 11

        U.S.C. § 507 of the Code.

 1.25   “Proponent” means Debtor.

 1.26   “Pro-rata Share” means the same proportions that a given Allowed Claim within a Class

        bears to the total Allowed Claim of such Class.

 1.27   “Reorganization Case” with respect to the Debtor means the reorganization case under

        Chapter 11 of the Bankruptcy Code commenced by the Debtor on or about July 31, 2018,

        and pending in the Bankruptcy Court under Case No. 18-82270-CRJ11.

 1.28   “Secured Claim” means a Claim allowed as secured in the real or personal property of

        Debtor.

 1.29   “Unsecured Claim” means an allowed Claim other than an Administrative Expense

        Claim, Priority Claim, or a Secured Claim.

                                   II.
           CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

 1.0    Secured Claims:

        1.01   Redstone Federal Credit Union: This Class consists of the Allowed Secured
               Claim of Redstone Federal Credit Union and is impaired.

        1.02   Lincoln Automotive Financial Services: This Class consists of the Allowed
               Secured Claim which is impaired.

 2.0    Non-Priority General Unsecured Claims.: This Class consists of all Allowed Unsecured
 Claims all of which are impaired.

  3.0 Interest Holder: This class consists of the claim of Michael W. Davidson as the Debtor
 and Debtor in Possession.


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                                  III.
            IMPAIRMENT AND TREATMENT OF CLAIMS UNDER THE PLAN

         The Plan will be summarized by incorporation of pertinent portions. Other provisions of

 the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.

         Secured Claims:

         1.01    Redstone Federal Credit Union: This Class consists of the Allowed Secured

 Claim of Redstone Federal Credit Union (“RCFU”) in the amount of $142,565.41 and is impaired.

 The Debtor is indebted to RCFU pursuant to a note and mortgage on real property located at 130

 Shady Lane Langston, Alabama. The Debtor owns a one-half interest in this property. Pursuant

 to the Debtor’s plan, he intends on selling his interest in this property via a public or private sale

 as approved by the United States Bankruptcy Court. Those proceeds will be first applied to pay

 off the debt owed to RFCU and the remainder will be used pursuant to this plan.

         1.02     Lincoln Automotive Financial Services: This Class consists of the Allowed

 Secured Claim in the amount of $57,970 held by Lincoln Automotive Financial Services

 (“Lincoln”), which is impaired. The Debtor is indebted to Lincoln pursuant to a vehicle loan for

 a 2017 Lincoln Navigator. Post-petition this Court approved the Debtor’s monthly payment to

 Lincoln in the amount of $1,017.03 beginning in August, 2018 [Doc. 48]. This payment includes

 interest at the contract rate of 0.00%. Debtor will continue to pay this debt pursuant to the terms

 of this Court’s prior Order until the debt is paid in full. Debtor estimates that the payment period

 is approximately 52 months. This creditor will retain its lien upon this collateral until such time

 as the debt is paid in full.

         2.0     Non-Priority General Unsecured Claims: This class consists of all allowed

 general unsecured claims which are impaired. The total amount of unsecured claims exceeds

 $1,857,621.42. The claims are of every kind and nature including claims arising from personal


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 guarantees, the rejection of executory contracts, unexpired lease claims, deficiencies on secured

 claims, contract damage claims or open account claims, unsecured tax claims, and damages arising

 from or related to any liquidated or contingent claim. It also includes any debt which is filed as a

 priority or secured claim but, which is allowed as an unsecured claim by the Bankruptcy Court.

 Holders of general unsecured claims without priority which are Allowed Claims as determined on

 or before the Effective Date of the Plan shall be paid on a pro-rata distribution, from the pool of

 funds created from the sale of the Debtor’s assets.

          3.0 Interest Holder: This class consists of the claim of Michael W. Davidson as the

 Debtor and Debtor in Possession. Mr. Davidson will not receive a distribution based on his Claim

 under the Plan until allowed claims in Classes 1 and 2 have been paid or are otherwise satisfied as

 provided for herein.

                                        IV.
                     TREATMENT OF UNCLASSIFIED ADMINISTRATIVE
                         EXPENSES AND PRIORITY TAX CLAIMS

 Administrative Expense Claims:

 4.1      Heard, Ary& Dauro, LLC: This Administrative Expense Claim is unimpaired and shall

 be paid in full as of the Effective Date of the Plan or as otherwise agreed to by the parties.

 4.2 Wolfe, Jones, Wolfe, Hancock, Daniel & South, L.L.C: This Administrative Expense Claim

       is unimpaired and shall be paid in full as of the Effective Date of the Plan or as otherwise

       agreed to by the parties.

 Priority claims: The Debtor has not scheduled any claims entitled to Priority under

 11 U.S.C. 507.

                                          V.
                             PROVISIONS FOR REJECTION AND
                          ASSUMPTIONOF EXECUTORY CONTRACTS




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           Debtor is not aware of any executory contracts or unexpired leases to which he is a party.

 To the extent such exists it is to be rejected upon confirmation. All parties to any executory

 contract or lease rejected shall have thirty (30) days from the Confirmation Date in which to file a

 claim for damages, if any, resulting from such rejection or such claims will be disallowed and will

 not be eligible to participate in distributions under this Plan.

                                                  VI.
                                     MEANS OF EXECUTION OF THE PLAN

 6.01      Means of Implementation of the Plan. Debtor will implement the terms of his Plan by

           selling those assets set forth below. The method of sale includes sale by private or public

           sale. For instance, the Debtor has filed a Motion for authority to sell the real property

           located at 2616 Memorial Parkway Huntsville, Alabama for $250,000 via a private sale.

           Because the Debtor jointly owns the majority of his real property with Dean Hudson, it is

           anticipated that Mr. Hudson is a potential purchaser. The process of each sale involves the

           valuation of each property to ensure that the property is being sold for the highest attainable

           price. The time within which all sales are to be completed is unknown at this point. All

           sales are subject to the final approval of the United States Bankruptcy Court. Debtor further

           implement the terms of his Plan by executing all documents necessary.

                                                              Potential
                                Asset                                                Lien      Equity
                                                              Sale Price
                2616 Memorial Pkwy
                                                               $250,000              $0.00     $250,000
                Huntsville AL
                2808/2828 Old RR Bed Rd.
                                                               $500,000            $398,0001   $51,000
                Harvest, AL (50% interest)
                130 Shady Lane
                                                               $500,000            $142,565    $178,717
                Langston, AL (50% interest)
                53 Evans Drive
                                                                $75,000               $0       $37,500
                Langston, AL (50% interest)


 1 Debt is owed by Dean Hudson who owns the other 50% interest in this property.


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           895 Co. Rd. 614
                                               $265,000             $0           $132,500
           Mentone, AL (50% interest)
           178 Walton Lakeshore Dr.
                                                $3,500              $0            $1,750
           Panama City, FL (50% int)
           4x4 John Deere                       $4,000              $0            $4,000

           Seadoos (50% interest)               $3,500              $0            $1,750

           2014 Boat (50% interest)            $22,500              $0            $11,250

           Trailers (50% interest)               $500               $0             $250




 6.02   Execution of All Documents. The Plan authorizes the Debtor to execute all documents

        necessary to carry out the terms of the Plan.

 6.03   Objections to Claims and Allowance. No payment or distribution shall be made to the

        holder of a Claim against which an objection has been filed within thirty (30) days of the

        Effective Date until any such objection to a Claim has been determined by Final Order of

        the Court. Disputed and unliquidated Claims shall be estimated for purposes of voting and

        unless the Court orders otherwise, payments to holders of contested claims that are

        subsequently allowed shall be made in accordance with the terms of the Plan. Contest of

        Claims shall be filed with the Court no later than sixty (60) days after the Effective Date.

 6.04   Retention of Assets. Except as provided for in the Plan, or in the order confirming the

        Plan, on the Confirmation Date, the Debtor shall be vested with all of the property of the

        estate, and the Debtor shall retain all property rights free and clear of all liens, charges, and

        other interests of the creditors.

                                    VII.
                 MODIFICATION AND CONFIRMATION OF THE PLAN

 7.01   Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time



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        prior to Confirmation without leave of this Court, upon such notice as may be required by

        this Court. If such modification is made after acceptance hereof, this Plan as so modified

        shall be deemed accepted by all holders of Claims and Equity Interests that have previously

        accepted this plan, provided that this Court finds that such modification would not

        materially and adversely change the treatment of the holders of Claims or Equity Interests

        that have not accepted such modification in writing.

 7.02   Post-Confirmation Modifications.

        (a)    Except as provided in Subsection (b) of this section, Debtor may modify this Plan

               after Confirmation only if this Court determines that this Plan as so modified meets

               all of the requirements for confirmation.

        (b)    Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan

               during the period between the Confirmation Date and the "substantial

               consummation," provided that this Court determines only that such modification

               does not materially and adversely change the treatment of Claims or Equity

               Interests but merely remedies a defect or omission or reconciles an inconsistency

               in or between this Plan and/or the Confirmation Order in such manner as may be

               necessary to carry out the purposes and effect hereof.

 7.03   Effect of Confirmation.

        (a)    Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of

               a Claim whether or not (1) the Claim of such holder is impaired hereunder, or (2)

               such holder has accepted this plan.

        (b)    Except as otherwise provided herein or in the Confirmation Order, Confirmation

               vests all of the property of the estate in Debtor, free and clear of all Claims.




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           (c)       Except as provided for in § 1141(d)(5), Confirmation discharges the Debtor from

                     any debt that arose before the Confirmation Date and any Claim of a kind specified

                     in §§ 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof

                     of claim is filed with respect thereto, (2) the debt appears in the schedules of

                     liabilities filed by the Debtor, (3) the debt is allowed, or (4) the holder of such debt

                     has accepted this Plan.

           (d)       Confirmation shall constitute approval or ratification by this Court of the

                     assumption or rejection of the Debtor’s executory contracts and unexpired leases

                     pursuant to Section IV hereof.

           (e)       Confirmation shall constitute approval by this Court of all financing arrangements,

                     leases, contracts, and other actions that the Debtor propose in the Disclosure

                     Statement or herein, to enter into, make, or take in connection with implementation

                     hereof, including the execution of any documents as of the Effective Date.

                                                            VIII.
                                                         DISCHARGE

           Upon completion of all payments under the Plan, Debtor, upon notice and opportunity

 for hearing2, shall receive a discharge of any and all debts of the Debtor that arose at any time

 before Confirmation, including but not limited to, all principal and interest, whether accrued before

 or after the Filing Date, pursuant to § 1141(d)(1) and (d)(5) of the Code. The discharge shall be

 effective as to each Claim, regardless of whether a proof of claim therefore was filed, whether the

 Claim is an allowed claim, or whether the holder thereof votes to accept the Plan. The rights

 afforded in the Plan shall be in exchange for and in complete satisfaction, discharge and release of


 2  As explained below § 102 of the Code provides that after notice and a hearing means after such notice as is appropriate in the
 particular circumstances but authorizes an act without an actual hearing if a hearing is not timely requested by a party in interest.




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 all Claims and interests of any nature whatsoever. All creditors shall be precluded from asserting

 against the Debtor or his assets or properties any claim which arises from or relates to any act,

 omission or transaction of any kind that occurred prior to the Confirmation Date.

                                   IX.
               RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

 9.1    Pursuant to § 1123(b) (3) of the Code, the Debtor shall retain and may enforce any and all

        claims of the Debtor except claims waived, relinquished, or released in accordance with

        the Plan.

 9.2    No party in interest except the Debtor shall maintain or commence an action to recover a

        preference as defined in § 547(b) of the Code after the Confirmation Order is entered.

 9.3    Contests of Claims shall be filed with the Court not later than thirty (30) days after the

        Effective Date.

                                           X.
                               JURISDICTION OF THE COURT

 10.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the

        Reorganization Case for the following purposes:

        (a)     To determine any and all objections to the allowance of Claims or Interests;

        (b)     To determine any and all applications for allowances of compensation and

                reimbursement of expenses and any other fees and expenses authorized to be paid

                or reimbursed under the Bankruptcy Code or the Plan;

        (c)     To determine any applications or motions pending on the Effective Date for the

                rejection, assumption, or assumption and assignment of any executory contract and

                to hear and determine, and if need be, to liquidate any and all Claims arising

                therefrom;




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        (d)    To determine any and all applications, adversary proceedings, and contested

               matters that may be pending on the Effective Date;

        (e)    To consider any modification of this Plan, remedy any defect or omission or

               reconcile any inconsistency in any Order of the Court, to the extent authorized by

               the Court;

        (f)    To determine all controversies, suits, and disputes that may arise in connection with

               the interpretation, enforcement, or consummation of the Plan or that may involve

               or affect the value of assets of the Company administered by the Plan;

        (g)    To consider and act on the compromise and settlement of any Claim against or

               cause of action by or against the Debtor arising under or in connection with the

               Plan;

        (h)    To issue such orders in aid of execution of the Plan to the extent authorized by §

               1142 of the Bankruptcy Code;

        (i)    To enforce the workout agreement;

        (j)    To determine such other matters as may be set forth in any order or orders

               confirming the Plan or which may arise in connection with the Plan or any other

               Order or Orders confirming the Plan.

                                        XI.
                              MISCELLANEOUS PROVISIONS

 11.1   Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for

        the Northern District of Alabama are hereby incorporated by reference, including their

        terms, conditions, benefits, requirements and obligations.

 11.2   Cramdown. With respect to any class not accepting the Plan, the Proponent does hereby

        request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the



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        grounds that the Plan does not discriminate unfairly and is fair and equitable with respect

        to each class of claims that are impaired.

 11.3   Quarterly Fees.     The Debtor will be making his quarterly fees to the Bankruptcy

        Administrator pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments

        as required post-petition.

 11.4   Compliance with Tax Requirements. In connection with the Plan, the Debtor will

        comply with all withholding and reporting requirements imposed by federal, state and local

        taxing authorities, and all distributions hereunder shall be subject to such withholding and

        reporting requirements.

 11.5   Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on

        property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid

        in full according to the treatment proposed under the Plan at which time the lien shall be

        released.

 11.6   Employment and Payment of Professionals.

        (a)    During the period between the Confirmation Date and the Effective Date, Debtor

               may (1) continue to avail himself of the services of professional persons whose

               employment was approved at or prior to Confirmation in completing the

               administration of this case and in the consummation and performance hereof, and

               (2) if necessary and with the approval of this Court, employ additional professional

               persons to render such services.

        (b)    With respect to services rendered and expenses incurred in or in connection with

               this case during such period by any such professional person, the professional

               person may render periodic billings therefore to the Debtor and the Debtor shall




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               promptly pay the same, but each such payment shall be subject to review and

               approval by this Court as to the reasonableness thereof in the manner prescribed by

               Subsection (c) of this section.

 11.7   Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all

        of the motions, and applications for compensation to professionals, and notices of such

        hearings shall be limited to the Debtor, Bankruptcy Administrator and any party of interest

        directly affected by such motion or application.

 11.8   Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in

        complete satisfaction, discharge, and release of all Allowed Claims, liens and

        encumbrances of any nature whatsoever, including any interest accrued thereon from and

        after the Filing Date, against the Debtor or any of its assets; and, except as otherwise

        provided herein, on Confirmation, all such Allowed Claims against the Debtor or his assets,

        any other or further Allowed Claim based upon any act or omission, transaction or other

        activity of any kind or nature that occurred prior to Confirmation are satisfied, discharged

        and released.

                                            XII.
                                      CLOSING OF CASE

 12.01 Procedure for Closing Case. If the Court concludes that a hearing on such motion would

        be appropriate, such hearing shall be conducted upon notice only to the Debtor, the

        Bankruptcy Estate Administrator, and persons specially requesting notices at the hearing

        on confirmation.

        Respectfully submitted on this the 21st day of November, 2018


                                                      /s/ Michael W. Davidson
                                                      Signature of Debtor



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                                                       /s/ Kevin D. Heard
                                                       Kevin D. Heard
                                                       Attorney for Debtor
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of November, 2018, I served a copy of the foregoing
 Debtor’s Chapter 11 Plan of Reorganization Dated November 21, 2018, on the parties listed
 below and on the attached matrix by depositing the same in the United States Mail, postage prepaid
 and properly addressed, via electronic mail at the e-mail address below, unless the party being
 served is a registered participant in the CM/ECF System for the United States Bankruptcy Court
 for the Northern District of Alabama, service has been made by a “Notice of Electronic Filing”
 pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative
 Procedures as indicated below:

 Notice will be electronically mailed to:

 Richard M Blythe
 Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

 Richard E O’Neal, on behalf of the IRS:
 Richard.O'Neal@usdoj.gov


 Notice will not be electronically mailed to:

 All parties on the attached matrix were served via U.S. Mail.


                                                /s/ Kevin D. Heard
                                                Kevin D. Heard




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